                                                       IT IS ORDERED

                                                       Date Entered on Docket: September 18, 2019




                                                      ________________________________
                                                      The Honorable Robert H Jacobvitz
                                                      United States Bankruptcy Judge
______________________________________________________________________

                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW MEXICO

  In re:
  GREGORY BLEA and
  ISABEL BLEA,
         Debtor(s)                                              No. 19-10520-t7

                   AGREED ORDER APPROVING TRUSTEE’S SALE
                     OF REAL PROPERTY TO MELISSA JONES

        THIS MATTER has come before the Court on Trustee’s Motion to Approve Sale

  of Real Property to Melissa Jones, filed August 22, 2019 (“the Motion”). The Court,

  FINDS: (a) notice of the Motion, with a 21-day opportunity to object, was given pursuant

  to Bankruptcy Rule 2002(a)(2) to all parties in interest on the official mailing matrix

  maintained by the Clerk of the Court in this bankruptcy case on August 22, 2019, with a

  deadline to file a response to the Motion on September 16, 2019; (b) the notice of the

  Motion was sufficient in form and content and was appropriate in the particular

  circumstances; (c) a limited objection were filed by creditor Nationstar Mortgage LLC,

  and that objection has been resolved as indicated by the signature of creditor’s counsel




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       below, and, (d) the sale of property as outlined in the Motion, as modified below,

is appropriate.

       IT IS THEREFORE ORDERED:

       1.     That the Motion to Approve Trustee’s Sale of Real Property to Melissa Jones

is granted.

       2.     Sale of the property described as:

              Lot numbered Twenty-five (25) of Block numbered One (1), Unit 12,
              Jade Park Mobile Home Subdivision, according to the plat filed
              November 9, 1971, in Plat Book C8, Page 59, in the Office of the
              County Clerk of Bernalillo County, New Mexico, EXCEPTING the
              westerly one (1) foot of the above described lot which was deed to
              the City of Albuquerque, New Mexico.


and more commonly known as 7401 Frank Place NE, Albuquerque, New Mexico 87109

to Melissa Jones, is approved on the following cash terms and with the following

distributions to take place at closing:

              a.     Property selling price:     $98,000.00
              b.     Seller to pay standard accruals such as accrued property taxes, past
                     due property taxes, an owner’s title policy, a survey, and
                     miscellaneous closing costs as detailed in the purchase agreement
                     attached to the motion.
              c.     Payoff of mortgage note to Nationstar Mortgage LLC in the reduced
                     amount of $79,278.27, provided that closing occur no later than
                     September 23, 2019.
              d.     Trustee’s realtor, Amy Ackroyd of TAL Realty, Inc. to receive a
                     realtor’s commission in the amount of $5,880.00 (6.00% of the sales
                     price), plus applicable gross receipts tax. This commission may be
                     split with trustee’s consultant BK Global and buyer’s realtor, if
                     applicable.
              e.     Balance of proceeds to be distributed to Philip J. Montoya, Trustee.

       3.     Trustee is authorized to take the necessary steps to complete the above-




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described sale, including conveyance of the property by deed, upon entry of this order.


                               ###END OF ORDER###

Respectfully submitted:
Filed electronically
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Approved by:
Approved by email on 9/13/19
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